Case 3:06-cr-30046-RGJ-KLH   Document 130   Filed 06/14/07   Page 1 of 6 PageID #:
                                     412
Case 3:06-cr-30046-RGJ-KLH   Document 130   Filed 06/14/07   Page 2 of 6 PageID #:
                                     413
Case 3:06-cr-30046-RGJ-KLH   Document 130   Filed 06/14/07   Page 3 of 6 PageID #:
                                     414
Case 3:06-cr-30046-RGJ-KLH   Document 130   Filed 06/14/07   Page 4 of 6 PageID #:
                                     415
Case 3:06-cr-30046-RGJ-KLH   Document 130   Filed 06/14/07   Page 5 of 6 PageID #:
                                     416
Case 3:06-cr-30046-RGJ-KLH   Document 130   Filed 06/14/07   Page 6 of 6 PageID #:
                                     417
